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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 RYAN O’DELL,                                              :
                                                           :
                   Plaintiff,                              : Civ. No.     1:23-cv-556
                                                           :
 v.                                                        :
                                                           :
 CINCOR PHARMA, INC., MARC DE                              :
 GARIDEL, DAVID ALLISON, PH.D.,                            :
 MAINA BRAMAN, MBA, JAMES I.                               :
 HEALY, M.D., PH.D., TROY IGNELZI,                         :
 JUNE LEE, M.D., JASON PITTS, PH.D., and :
 JOHN F. THERO,                                            :
                                                           :
                   Defendants.                             :
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                            NOTICE OF VOLUNTARY DISMISSAL

        Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Ryan O’Dell hereby voluntarily dismisses his individual claims in the above-

captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed with

the Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: February 21, 2023                                 Respectfully submitted,

                                                      MELWANI & CHAN LLP

                                                      /s Gloria Kui Melwani
                                                      Gloria Kui Melwani (GM5661)
                                                      1180 Avenue of the Americas, 8th Floor
                                                      New York, New York 10036
                                                      Tel: (212) 382-4620
                                                      Email: gloria@melwanichan.com

                                                       Attorneys for Plaintiff
